JUDGEI

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Lynn N. Hughes

CAsE MANAGER: Glenda Hassan
REPORTER H. Alcaraz INTERPRETER yes

l LAw CLERK C. ngen l:l INTERN

TIME:

1:40 P.M. TO 2:20 P.M. DATE: January 4, 2018

 

UNITED STATES OF AMERICA

Deft. No. Deft. Name

CR. NO. H-l -3

Ted Imperato
VS.

 

Omar Faraj Saeed Al Hardan

 

 

David Adler

 

 

 

 

 

 

 

 

 

 

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add'l defts. on second page
Hearing
Hearing held on:
l:l all pending motions
l:l these topics: sentencinz, appeal

AUSA

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Evidence presented (exhibits admitted or testimony given) on:

 

Order to be entered

All motions not expressly decided are denied without prejudice to being reurged.
Change of plea hearing held; deft withdraws plea of guilty.

Jury trial set , at m

Deft bond set/reduced to $

Deft bond l:l continued l:l forfeited.
Deft failed to appear, bench warrant to issue.
Deft remanded to custody.

Other Rulings:

l:l Cash l:l Surety l:l 10% l:l PR.

 

 

